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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
MARCUS ANTONIO MARTIN, CIVIL DOCKET NO. 1:20-CV-079-P
Petitioner
VERSUS JUDGE DRELL
CHRIS McCONNELL, MAGISTRATE JUDGE PEREZ-MONTES
Respondent
JUDGMENT

For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein (ECF No. 10) and after a de novo review of the record
including the Objection filed by Petitioner (ECF No. 11), and having determined that
the findings and recommendation are correct under the applicable law;

IT IS ORDERED that the Petition for Writ of Habeas Corpus under 28 U.S.C.
§ 2241 (ECF No. 1) is hereby DISMISSED for lack of jurisdiction, WITH PREJUDICE

as to the jurisdictional issue and WITHOUT PREJUDICE as to the merits of the

claims.

3 2kP
THUS DONE AND SIGNED at Alexandria, Louisiana, this Ze day of April,

DEE. D. DRELL
UNITED STATES DISTRICT JUDGE

2020.

 

 
